Case 1:19-cv-02367-ABJ   Document 153-6   Filed 10/31/24   Page 1 of 2




      Strzok v. Garland, et al., No. 1:19-cv-2367-ABJ (D.D.C.)




              Plaintiff’s Exhibit 38

To Plaintiff’s Summary Judgment Memorandum
Case 1:19-cv-02367-ABJ          Document 153-6          Filed 10/31/24   Page 2 of 2




               Donald J. Trump 0
               @realDonaldTrump. Follow
                                                                             x
     In one of the biggest stories in along time, the FBI now
     says it is missing five months worth of lovers Strzok-Page
     texts, perhaps 50,000, and all in prime time. Wow!
     6:55 AM    Jan 23, 2018                                                  G

         82.4K      • Reply      ,
                                 1    Share


                                   Read 20.8K replies




           Donald J. Trump 0
           @realDonaldTrump. Follow
                                                                             X
    Where are the 50,000 important text messages between
    FBI lovers Lisa Page and Peter Stizok? Blaming Samsung!
    10:54 PM    Jan 23, 2018                                                 0

        78.7K      9    Reply    t, Share


                                   Read 26.7K replies




                                                                     PLAINTIFF'S
                                                                       EXHIBIT




                                                                 PSTRZOK-D OJ-000 14245
